Case 4:20-cv-00518-MAC-AGD             Document 42        Filed 11/07/24      Page 1 of 1 PageID #:
                                             451




 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS



 CARLOS OCHOA-OROZCO, #26996-078                    §
                                                    §
 versus                                             §   CIVIL ACTION NO. 4:20-CV-518
                                                    §   CRIMINAL ACTION NO. 4:17-CR-47(2)
 UNITED STATES OF AMERICA                           §

                           MEMORANDUM OPINION AND ORDER

          Carlos Ochoa-Orozco filed a motion for leave to appeal in forma pauperis (#38).

 Appellant may proceed in forma pauperis on appeal only if he is economically eligible and

 presents a nonfrivolous issue. See Carson v. Polley, 689 F.2d 562, 586 (5th Cir. 1982). A review

 of the case shows that, on October 25, 2023, the Court denied Movant’s Motion for Relief from

 Judgment pursuant to Fed. R. Civ. P. 60(b) because it was without merit (#32). On July 24,

 2024, the Court denied a certificate of appealability (#36). Because Movant has neither presented

 a nonfrivolous issue nor shown that he is entitled to a certificate of appealability, he also has not

 shown that he is entitled to proceed in forma pauperis on appeal. United States v. Delario, 120

 F.3d 580, 582 (5th Cir. 1997).

          It is therefore ORDERED Movant’s motion for leave to appeal in forma pauperis (#38)

 is DENIED.


          SIGNED at Beaumont, Texas, this 7th day of November, 2024.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
